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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 BAYOU CITY WATERKEEPER,                           §
                                                   §
                                  Plaintiff,       §
 v.                                                §    CIVIL ACTION NO. 4:18-CV-3369
                                                   §    JUDGE ANDREW HANEN
 CITY OF HOUSTON,                                  §
                                                   §
                                  Defendant.       §
                                                   §

                    Plaintiff Bayou City Waterkeeper’s Notice of Related Litigation

           Pursuant to Local Rule 5.2, Plaintiff Bayou City Waterkeeper respectfully submits this

Notice to advise the Court of the following related current litigation and of directly affected non-

parties.

           United States of America, et al. v. City of Houston, Texas, 4:18-CV-3368 (S.D. Tex.), was

filed on September 20, 2018. Plaintiffs, United States of America and the State of Texas, are

directly affected non-parties. The case is assigned to Judge Ewing Werlein, Jr. The case is currently

stayed pending settlement negotiations.

                            Summary of Related Nature of the Litigation

           These cases are related because they present common questions of law and fact and arise

from the same or substantially similar events. Both cases contend that the City of Houston violated

the Clean Water Act and its Texas Pollutant Discharge Elimination System (“TPDES”) permits by

discharging untreated wastewater into and adjacent to area waters over the course of several years.



Dated: September 28, 2018.

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                                     By: /s/ David Frederick


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                                       Certificate of Service

       I certify that on September 28, 2018, I electronically filed this Plaintiff Bayou City

Waterkeeper’s Notice of Related Litigation using the CM/ECF system, which automatically sends

notice and a copy of the filing to all counsel of record.

                                               /s/ David Frederick
                                               David Frederick

                                               Attorney for Bayou City Waterkeeper




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